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                                             February 20, 2025

   VIA ECF
   Hon. José R. Almonte, U.S.M.J.
   United States District Court for the District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street
   Newark, New Jersey 07101

             RE:       Lorenzo v. Borough of Palisades Park
                       Docket No.: 2:23-cv-21849-CC-JRA

                       Ashley v. Borough of Palisades Park
                       Docket No.: 24-cv-6285-CCC-JRA

   Dear Judge Almonte:

           As you are aware, this office has been assigned to represent Defendants, the Borough of
   Palisades Park, Mayor Chong Paul Kim, and Suk Min with regard to the above matter, which has
   been consolidated for discovery purposes only. Please accept this letter as a joint letter from the
   parties requesting that the Court hold a Case Management Conference at its earliest convenient
   time.

           As Your Honor is aware, the deadline for paper discovery was set for December 31, 2024.
   I readily admit that I am presently in default of this deadline owing to the delay in obtaining
   documents responsive to the Plaintiff’s interrogatories and notice to produce. Many of the
   documents are contained in the Borough archives, and as per the Borough Counsel, the Records
   Clerk and/or the Borough Counsel have the initial responsibility to obtain, review and the produce
   these documents and records to litigation counsel. This process has taken longer than expected
   and I am making efforts to speed it up as much as possible.

           Plaintiffs’ counsel has supplied the following for inclusion in this letter as his clients’
   position:
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               Discovery demands were propounded on the delinquent defendants
               in April of 2024 in the Lorenzo matter and in September of 2024 in
               the Ashley matter. These defendants have had more than ample time
               to work through any bureaucratic hurdles that could have delayed
               production of these records.

               Defense counsel’s inability to obtain documents does not establish
               a basis for his clients’ failure to answer interrogatories.

               We recognize that our comments are harsh and by no means mean
               to imply that the blame for these delays falls on litigation counsel
               who we know to be competent and diligent lawyers. Rather, our
               clients believe that it is the defendants themselves who have no
               interest in participating in discovery in good faith and have taken to
               unreasonably delay this matter.

      I have spoken to all Counsel regarding this issue, and they concur that a request for a Case
 Management Conference should be made to Your Honor.

        I thank Your Honor for your time and attention to this matter. Should Your Honor have
 any questions please do not hesitate to have a member of staff contact my office.

                                              Very truly yours,



                                              R. Scott Fahrney, Esq.,
 RSF/koh
